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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

     CAMSOFT DATA SYSTEMS, INC.                                         CIVIL ACTION

     VERSUS
                                                                        NO. 09-1047-JJB
     SOUTHERN ELECTRONICS SUPPLY, INC., ET AL.

           RULING ON MOTION FOR ATTORNEYS’ FEES, EXPENSES, AND COSTS

            This matter is before the Court on a Motion for Attorneys’ Fees, Expenses, and Costs

     (Doc. 504) filed by the plaintiff, Camsoft Data Systems, Inc. (Camsoft). All defendants filed

     oppositions, and Camsoft filed a reply. Camsoft also moved for oral argument on the motion.

                                              Background

            In 2009, Camsoft sued multiple defendants over a patent dispute. (Doc. 1). Several

     defendants filed a notice of removal, which Camsoft challenged. Id.; (Doc. 16). The Magistrate

     Judge recommended that the case remain in federal court, and this Court denied Camsoft’s

     objection of that recommendation. (Docs. 32, 41). Camsoft then appealed to the Federal Circuit,

     which transferred the appeal to the Fifth Circuit. (Doc. 498). While its appeals were pending,

     Camsoft filed an amended complaint asserting claims under several federal statutes. (Doc. 205).

     In 2014, the Fifth Circuit ruled that there was no subject matter jurisdiction and remanded the

     case to state court. (Doc. 530). Camsoft subsequently filed its motion seeking attorneys’ fees,

     costs, and expenses. (Doc. 504). After several defendants objected, claiming they did not seek

     removal, Camsoft clarified that it was only seeking recovery from the defendants who removed

     the case initially. (Doc. 523 at 1). Those remaining defendants are: Southern Electronics Supply,

     Inc., Active Solutions LLC, Brian Fitzpatrick, Henry J. Burkhardt, Ignace A. Perrin III, CIBER,

     Inc., Dell Inc., Dell Marking, L.P., Steve Renecker, Bill Ridge, Heather Smith, and Mark Kurt.


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Later, Camsoft moved for oral argument on the motion, and the remaining defendants filed an

opposition to which Camsoft replied. (Docs. 534, 535, 538).

                                               Law

       Title 28 U.S.C. §1447(c) provides for “payment of just costs and any actual expenses,

including attorneys’ fees, incurred as a result of improper removal.” Attorneys’ fees are not

automatic. Valdes v. Wal-Mart Stores, Inc., 199 F.3d 290, 292 (5th Cir 2000). Courts consider

the objective “merits of the defendant’s case at time of removal” when determining whether to

award attorneys’ fees, not subjective bad faith. Id. The Court may award attorneys’ fees only

when “the removing party lacked an objectively reasonable basis for seeking removal.” Martin v.

Franklin Capital Corp., 546 U.S. 132, 141 (2005). Courts have also rejected attorneys’ fees

when plaintiff’s “conduct after removal plays a substantial role in causing the case to remain in

federal court.” Avitts v. Amoco Production Co., 111 F.3d 30, 32 (5th Cir. 1997).

                                             Analysis

       I.       Attorneys’ Fees

       The Court has carefully reviewed all arguments and finds that the defendants’ arguments

are persuasive. The defendants did not lack an objectively reasonable basis for removal, and by

filing multiple claims under federal law, the plaintiffs played a significant role in prolonging the

suit’s stay in federal court. Consequently, the Court will not award attorneys’ fees even though

the Fifth Circuit ultimately found removal improper.

       II.      Expenses and Costs

       Under Local Rule 54.3, plaintiff should make an application with the Clerk’s Office to

have costs and expenses taxed against the removing defendants.




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       III.   Oral argument

       In light of the Court’s ruling on attorneys fees’ and the requirement in Local Rule 54.3 to

make an application with the Clerk’s Office for costs and expenses, Camsoft’s Motion for Oral

Argument is moot.

                                          Conclusion

       Camsoft’s Motion for Attorneys’ Fees, Expenses, and Costs (Doc. 504) is DENIED in

part with respect to attorneys’ fees and referred to the Clerk’s Office regarding costs and

expenses. Camsoft’s Motion for Oral Argument (Doc. 534) is MOOT.

Signed in Baton Rouge, Louisiana, on February 5, 2015.


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                                        JUDGE JAMES J. BRADY
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                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA




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